              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                              ASHEVILLE DIVISION

CARYN DEVINS STRICKLAND,                    )
                                            )
                           Plaintiff,       )
                                            )
v.                                          )   Civil No. 1:20-cv-00066-WGY
                                            )
UNITED STATES, et al.,                      )
                                            )
                           Defendants.      )
                                            )

                            MOTION TO WITHDRAW

      NOW COMES undersigned counsel and respectfully moves to withdraw

from further representation of Plaintiff, Caryn Devins Strickland.

      As cause, undersigned counsel represents that a conflict has arisen such that

counsel cannot continue to represent Ms. Strickland, and there are irreconcilable

differences in the attorney-client relationship.

      Plaintiff is still considering counsel’s motion and requests that the Court not

act on the motion until she has had an opportunity to respond. In the interim,

Plaintiff’s remaining counsel will represent her interests in this litigation.

      Because Ms. Strickland has other counsel in this matter, undersigned

counsel does not feel it is necessary to provide her last known address in a public

filing pursuant to LCvR 83.1(f).

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This the 29th day of April, 2023.

                                        Respectfully Submitted,

                                        /s/ Jeannie Suk Gersen

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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 29th day of April, 2023, I will electronically file

the foregoing with the Clerk of Court using the CM/ECF system, which will then

send a notification of such filing (NEF) to the following:


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